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 6                            UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF WASHINGTON
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 9   In re:                                                   Case No. 24-01421-FPC11
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     IDEAL PROPERTY INVESTMENTS, LLC,                         NOTICE OF MOTION & HEARING IF
11                                                            OBJECTION RECEIVED OF
12   Debtor.                                                  APPLICATION FOR RELIEF FROM
                                                              STAY
13
                                                              Hearing Date: November 5, 2024, 11:00 AM
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              PLEASE TAKE NOTICE that James Group International, LLC, party in interest and
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     creditor to Debtor in the above-titled action, by and through undersigned counsel, has filed an
17
     Application for Relief from Stay for the sole purpose of perfecting its lien as to Debtor.
18
19             PLEASE TAKE FURTHER NOTICE that any party opposing the Application must

20   serve a written response to the undersigned counsel at 17713 Fifteenth Avenue NE, Suite 101,
21   Shoreline, WA 98155, and file a response with the Clerk of the United States Bankruptcy Court,
22   904 West Riverside Avenue, Suite 304, Spokane, Washington 99201 on the response date, which
23   is November 4, 2024.
24             PLEASE TAKE FURTHER NOTICE that the Court may enter an order without
25
     conducting a hearing.
26
     /
27
     /
28

         NOTICE OF MOTION & HEARING IF                                  NORTH CITY LAW, PC
                                                                 17713 Fifteenth Avenue NE, Suite 101
         OBJECTION RECEIVED                                           Shoreline, WA 98155-3839
                                                                         Phone: 206.413.7288
                                                                          Fax: 206.367.0120
         24-01421-FPC11 (1)

         24-01421-FPC11        Doc 203   Filed 10/21/24     Entered 10/21/24 12:00:50          Pg 1 of 2
 1   DATED this Monday, October 21, 2024.
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                                        NORTH CITY LAW, PC
 3
 4                                      /s/ Paul A. Barrera
                                        Paul A. Barrera, WSBA No. 51990
 5                                      paul@northcitylaw.com
 6                                      NORTH CITY LAW, PC
                                        17713 Fifteenth Avenue NE, Suite 101
 7                                      Shoreline, WA 98155-3839
 8                                      Telephone: 206.413.7288
                                        Facsimile: 206.367.0120
 9
                                        Attorney for James Group International, LLC
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     NOTICE OF MOTION & HEARING IF                              NORTH CITY LAW, PC
                                                         17713 Fifteenth Avenue NE, Suite 101
     OBJECTION RECEIVED                                       Shoreline, WA 98155-3839
                                                                 Phone: 206.413.7288
                                                                  Fax: 206.367.0120
     24-01421-FPC11 (2)

     24-01421-FPC11       Doc 203   Filed 10/21/24   Entered 10/21/24 12:00:50         Pg 2 of 2
